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JUL 2 1 2005
UNITED STATES DISTRICT COURT M_ comm mm
WESTERN DISTRICT OF TENNESSEE u. s. frame coun
Western Division w. o. oF TN. l~¢\¢i'“¢'-\\‘\*s

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20272-001Ma
ALBERT SMITH

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

'I`his Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled oase, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

- All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, TN, this 21st day of July, 2005.

TA.

S. THOMAS ANDERSON
UN`ITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

ALBERT SMITH

This docL.ment entered on the docket eat in compl|an a
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20272 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

